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lN THE UN|TED STATES D|STR|CT COURT
FOR THE MlDDLE D|STR|CT OF GEORG|A
VALDOSTA D|VlSlON

THE B & F SYSTEM, lNC.,
P|aintiff,

V.

LLOYD J. LEBLANC JR., MAXAM
WHOLESALE OF ATLANTA, lNC., D|RECT
SOURCE lMPORTS, lNC., ARTHUR JEFFREY
LEBLANC, LLOYD LEBLANC, lll, PRODUCTOS
MEX|CANOS DON JOSE, lNC., LEBLANC’S
LLC, and EDNA G. LEBLANC,

Defendants.

 

 

Civi| Action No. 7:07-CV-192 (HL)

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` . j 1 i:§ DISTF€£CT `
MlDDLE SEST'R£CT OF GE§§§;::

   

SPEC|AL lNTERROGATOR|ES TO THE JURY - PHASE |l|

1. Has B&F shown by clear and convincing evidence that it is entitled to punitive

damages against Direct Source imp s, inc.?
YES NO

if you answered YES to Question 1, do you find that Direct Source |mports, |nc.
acted with the specific intent to cause harm to B&F?

YES NO

|f you have determined that a punitive damages award is appropriate, what is the
amount of punitive damages you award B&F against Direct Source |mports, |nc.?

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Has B&F shown by clear and convincing evidence that it is entitled to punitive

damages against Jeff LeB|anc? /
YES NO

|f you answered YES to Question 2, do you find that Jeff LeBianc acted with the
specific intent to cause harm to B&F?

YES NO

 

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lf you have determined that a punitive damages award is appropriate, what is the
amount of punitive damages you award B&F against Jeff LeBlanc?

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Has B&F shown by clear and convincing evidence that it is entitled to punitive
damages against Jody LeBlanc? /

YES NO

lf you answered YES to Question 3, do you find that Jody LeBlanc acted with the
specific intent to cause harm to B&F?

YES NO

lf you have determined that a punitive damages award is appropriate, what is the
amount of punitive damages you award B&F against Jody LeBlanc?

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Has B&F shown by clear and convincing evidence that it is entitled to punitive
damages against Productos l\/lexicano/s Don Jose, lnc.?

YES ' NO

lf you answered YES to Question 4, do you find that Productos l\/iexicanos Don
Jose, lnc. acted with the specific intent to cause harm to B&F’?

YES NO

lf you have determined that a punitive damages award is appropriate, what is the
amount of punitive damages you award B&F against Productos l\/lexicanos Don
Jose, lnc.?

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Has B&F shown by clear and convinci,g evidence that it is entitled to punitive
damages against Edna LeBlanc?

YEs b No

 

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lf you answered YES to Question 5, do you find that Edna LeBlanc acted with the
specific intent to cause harm to B&F? `

YES NO

lf you have determined that a punitive damages award is appropriate, what is the
amount of punitive damages you award B&F against Edna LeBlanc?

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so sAY wE ALL THis 3 day of February, 2012.

 

 

